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UNITED STATES DISTRICT COURT

DISTRICT OF HAWAII
UNITED STATES OF AMERICA,
Plaintiff,
Ve Civ. No. 18-145 JMS RT
SANDWICH ISLES COMMUNI-
CATIONS, INC., et al.,
Defendants.

DECLARATION OF CHANNING IWAMURO

I, Channing Iwamuro, pursuant to 28 U.S.C. § 1746, declare as follows:

l. I am an Administrative Officer at the United States Marshals Service
for the District of Hawaii (“U.S. Marshals Service”).

2. I am over the age of eighteen (18) years, I have personal knowledge of
the matters stated in this declaration and I am fully competent and qualified to
make all statements set forth in this declaration. If called as a witness, I could and
would testify to the truth of the matters stated herein.

3. I submit this Declaration in support of the United States of America’s

Motion for Order Approving Confirmation of Execution Sale (the “Motion’’) in this

case.
4. On May 3, 2024, the U.S. Marshals Service posted copies of the Writ
of Execution, a Notice of Execution Sale, and the list of personal property assets to

be auctioned at the following four (4) conspicuous places in the City & County of
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Honolulu, State of Hawaii: U.S. District Court, 300 Ala Moana Boulevard,
Honolulu, HI 96850; Circuit Court of the First Circuit, 777 Punchbowl Street,
Honolulu, Hawaii 96813; Honolulu City Hall, 530 S. King Street, Honolulu,
Hawaii 96813; and the Hawaii State Library, 478 S. King Street, Honolulu, Hawaii
96813, as well as posting at the headquarters of Sandwich Isles Communications,
Inc. located at 77-808 Kamehameha Highway, Mililani Hawaii 96789.

5. On May 9, 2024, May 10, 2024, and May 12, 2024, the execution sale
of the Property was duly advertised in the Honolulu Star Advertiser, setting forth a
description of the Property and the date and time of the execution sale, Exhibit A.

6. On May 13, 2024, Hawaiian Telcom, Inc. (“HTI’’) submitted a bid to
purchase SIC’s conduit system and certain entitlements related to the operation of
the conduits for $500,000. The U.S. Marshals Service timely received HTI’s Good
Faith Deposit as required by the Court’s Order Approving Execution Sale
Procedures (“Sale Procedures Order”), ECF No. 535. A true and correct copy of
HTI’s bid is attached hereto as Exhibit B.

7. On May 13, 2024, Waimana Enterprises, Inc. (Waimana) submitted a
bid to purchase all of SIC’s property for $10,000. The U.S. Marshals Service
timely received Waimana’s Good Faith Deposit as required by the Sale Procedures
Order. A true and correct copy of Waimana’s bid is attached hereto as Exhibit C.

8. On May 20, 2024, at 12:00pm, William Jessup, the Acting U.S.
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Marshal for the District of Hawaii (the Marshal”), conducted the public execution
sale auction (the “Auction” on the steps in front of, and in the lobby of, the United
States Courthouse, 300 Ala Moana Boulevard, Honolulu HI 96850, to sell certain
personal property of Sandwich Isles subject to the Writ of Execution.

9. There were two qualified bidders that appeared at the auction. There
were several other people present.

10. At the Auction, the Marshal opened bidding at $500,000 for Lot 1, the
assets bid on by HTI. There were no topping bids for Lot 1, and HTI was selected
as the successful bidder for Lot 1.

11. The Marshal then opened bidding at $100,000 for Lot 2, the
remaining personal property of Sandwich Isles subject to the Writ of Execution.
No qualified bidder, or other bidder, bid on Lot 2 at the Auction. The Marshal then
closed the Auction.

12. HTI paid the balance of the purchase price by May 28, 2024, which
the U.S. Marshal currently holds.

I declare under penalty of perjury that the foregoing is true and correct.

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CHANNING IWAMURO

